Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58   Desc
               Exhibit 6 - MEC Transaction Overview Page 1 of 20



                                     0
                                     0
                                     0
                                     0
                                     0
                                     0
                     1234546070                                               0
                              !




                                     Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58      De
                                                    Exhibit 6 - MEC Transaction Overview Page 2 of 20
                         
        #$%&$'()*%+,-.#-)./+
                          
                                 01 234567
                   




                                                                                                   89  
               
                         
"  
            !:;P!Q!RSTR
            :;
!:;
<%=+>*#/$#?@A**B)%C+&($(.D.%(&+$#.+&EFG.'(+(*+(H.+(=I)'$A+E%'.#($)%().&+$&&*')$(.?+/)(H+$%=+I#*G.'()*%&+*>+>E(E#.+




                                                                                             Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
I.#>*#D$%'.J+KH.(H.#+*#+%*(+$%=+&E'H+>*#/$#?@A**B)%C+&($(.D.%(&+*#+I#*G.'()*%&+$#.+)%+>$'(+$'H).-.?+/)AA+?.I.%?+EI*%+
>E(E#.+.-.%(&L+&*D.+*>+/H)'H+$#.+%*(+/)(H)%+(H.+'*%(#*A+*>+(H.+M*DI$%=J+<''*#?)%CA=L+$'(E$A+#.&EA(&+D$=+-$#=+>#*D+(H.+
I#*G.'(.?+#.&EA(&L+$%?+&E'H+-$#)$()*%&+D$=+F.+D$(.#)$AJ+N%>*#D$()*%+'*%($)%.?+H.#.)%+?.&'#)F)%C+(H.+>)%$%')$A+&($(.D.%(&+
$#.+&EDD$#).&+*%A=L+$%?+&E'H+&EDD$#).&+$#.+OE$A)>).?+)%+(H.)#+.%()#.(=+F=+#.>.#.%'.+(*+(H.+>)%$%')$A+&($(.D.%(&J+
P!Q!RSTR:;




                                                                                                            Exhibit 6 - MEC Transaction Overview Page 3 of 20
U%A.&&+*(H.#/)&.+%*(.?L+$AA+>)CE#.&+I#.&.%(.?+H.#.)%+#.A$(.+*%A=+(*+(H.+V.&(#)'(.?+WEF&)?)$#).&+*>+XE##$=+Y%.#C=+
M*#I*#$()*%L+$&+?.>)%.?+)%+(H.+M#.?)(+$%?+ZE$#$%(=+<C#..D.%(L+?$(.?+<I#)A+[\L+]^[_L+$&+$D.%?.?J+
,E#+M#.?)(+$%?+ZE$#$%(=+<C#..D.%(+.`'AE?.&+U%#.&(#)'(.?+WEF&)?)$#).&+>#*D+(H.+'$A'EA$()*%+*>+M*%&*A)?$(.?+<?GE&(.?+
YaN"b<J+U%#.&(#)'(.?+M*%&*A)?$(.?+<?GE&(.?+YaN"b<+H$&+F..%+I#.&.%(.?+>*#+#.>.#.%'.+IE#I*&.&+)%+(H)&+I#.&.%($()*%L+
$%?+H$&+F..%+'$A'EA$(.?+)%+$+D$%%.#+'*%&)&(.%(+/)(H+(H.+'$A'EA$()*%+*>+M*%&*A)?$(.?+<?GE&(.?+YaN"b<+>*#+*E#+V.&(#)'(.?+
WEF&)?)$#).&J+
U%#.&(#)'(.?+WEF&)?)$#).&+>)CE#.&+I#.&.%(.?+H.#.)%+?*+%*(+)%'AE?.+$'()-)(=+>#*D+c*#.&)CH(+Y%.#C=+de+$%?+)(&+&EF&)?)$#).&L+
E%A.&&+*(H.#/)&.+%*(.?J+
+
fgh8ijklmno8phlphqhnrq8rgmr8rgsq8lphqhnrmrsjn8rjthrghp8usrg8rgh8jrghp8vjiwkhnrq8ljqrhv8jn8rgh8snrpmxsnyq8qsrh8ijnrmsnq8
mxx8rgh8kmrhpsmx8njnzlw{xsi8sn|jpkmrsjn8ts}hn8rj8rgh8lmprshq8rgmr8h~hiwrhv8ijn|svhnrsmxsro8mtphhkhnrq8usrg8rgh8ijklmno8

                           8            8             889     8             8                                8                                                 8   9888888888
                                                                                                                                De
RS! !




                         Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58      De
                                        Exhibit 6 - MEC Transaction Overview Page 4 of 20
                                                                                       89  
                       ·S!:;;
; !
 XE##$=+Y%.#C[=+M*#I*#$()*%++++*#+(H.++)&+(H.+A$#C.&(+I]#)-$(.A=@*/%.?+'*$A+'*DI$++%=+)%+(H.+
   U%)(.?+W($(.&+/)(H+$%%E$A+I#*?E'()*%+-*AED.&+*>+\+D)AA)*%+(*%&+&EII*#(.?+F=+$+]J^+F)AA)*%+(*%+A*/@'*&(+#.&.#-.+F$&.




                                                                                                                                                              Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
 <&+*>+X$#'H+[L+]^[L+XE##$=+*I.#$(.?+(/.A-.+$'()-.+D)%.&+A*'$(.?+)%+*#(H.#%+<II$A$'H)$+¡¢¢+(H.+NAA)%*)&+a$&)%+£¤¥+
   $%?+(H.+U)%($H+a$&)%L+$&+/.AA+$&+M*A*DF)$L+W*E(H+<D.#)'$+
    <??)()*%$AA=L+XE##$=+'*%(#*A&+(H.+Ze+*>+c*#.&)CH(+Y%.#C=+de+/H)'H+*I.#$(.&+>*E#+$'()-.+D)%.&+)%+Nda+
 c*#+(H.+d"X+I.#)*?+.%?.?+X$#'H+[L+]^[L+XE##$=+C.%.#$(.?+#.-.%E.&+*>+¦]+F)AA)*%+$%?+<?GE&(.?+YaN"b<+*>+¦§]+D)AA)*%+




                                                                                                                                                                             Exhibit 6 - MEC Transaction Overview Page 5 of 20
   
   S! !
R
 ¨RS!©+XE##$=+)&+#.OE.&()%C+(H$(+H*A?.#&+*>+Y`)&()%C+".#D+d*$%&+I$#()')I$(.+)%+$+I#*I*&.?+".#D+d*$%+Y`(.%&)*%L+$%?+
   )&+$%%*E%')%C+(H$(+'.#($)%+H*A?.#&+*>+Y`)&()%C+]d+*(.&+H$-.+.A.'(.?+(*+I$#()')I$(.+)%+(H.+*(.&+Y`'H$%C.+*%+$+I#)-$(.+F$&)&++
   Ï ".#D+d*$%+Y`(.%&)*%©+XE##$=+)&+#.OE.&()%C+.`)&()%C+H*A?.#&+$D.%?+$%?+.`(.%?+.`)&()%C+".#D+d*$%+a@]+$%?+".#D+d*$%+a@+
       ª(H.+«¬­®¬+".#D+¤­+)%+*#?.#+(*L+$D*%C+*(H.#+(H)%C&L+.`(.%?+(H.+D$(E#)().&+F=+]J_+=.$#&+(*+,'(*F.#+]^]]+ª(H.+¯+
       d*$%+«®­¬+
   ¸ *(.&+Y`'H$%C.©+¦\°^+D)AA)*%+*>+.`)&()%C+[[J]_±+W.'*%?+d).%+*(.&+ª(H.+«¬­®¬+]d+®­+H$-.+.A.'(.?+(*+.`'H$%C.+*%+
       $+I#)-$(.+F$&)&+)%(*+./+[J_+d).%+Y`'H$%C.+*(.&+ª(H.+²+[J_d+ ®­+$(+$%+.`'H$%C.+#$()*+*>+°J^L+/)(H+$%+.`(.%?.?+
       D$(E#)(=+*>++=.$#&+(*+<I#)A+]^]+$%?+$%+$%%E$A+'*EI*%+*>+§±+'$&H+³+±+eŃ+ª(H.+®­+Y`'H$%C.+
 N%+&EII*#(+*>+(H.+"#$%&$'()*%L+\[±+)%+*E(&($%?)%C+I#)%')I$A+$D*E%(+*>+Y`)&()%+C+".#D+d*$%&+$%?+°[±+*>+*E(&($%?)%C+I#)%')I$A+
   $D*E%(+*>+]d+*(.&+H$-.+&)C%.?+$+"#$%&$'()*%+WEII*#(+<C#..D.%(+ª(H.+¯µ¡
 "H.+"#$%&$'()*%+*>>.#&+I$#()')I$()%C+)%-.&(*#&+$+I$'B$C.+*>+&(#E'(E#$A+.%H$%'.D.%(&+ª&..+%.`(+I$C.¶+
¹j rhº8»xx8jlhpmrsjnmx8mnv8|snmnismx8khrpsiq8ph|xhir8rgh8h~sqrsnt8p9h8qrpsirhv8tpjwl88
¼8½mqhv8 jn8mnnwmx8wnvhptpjwnv8{srwksnjwq8ijmx8lpjvwirsjn88¾hij}hpm{xh8phqhp}hq8jn8¿hihk{hp8À¼Á89Â¼Ã8j|8¼98{sxxsjn8rjnq8lxwq8Ä9Â8ksxxsjn8j|8phij}hpm{xh8rjnq8ijnrpjxxhv8{o8Åwppmo8rgpjwtg8xhmqhv8lpjlhprshqÁ8
h~ixwvsnt8Æjphqstgr8mnv8miÇwsphv8»pkqrpjnt8mqqhrq88À8Ènixwvhq8ruj8mirs}h8ksnhq8miÇwsphv8rgpjwtg8rpmnqmirsjn8usrg8»pkqrpjnt8ÉnhptoÁ8Èni888fgh8Ã¼Ê8j|8jwrqrmnvsnt8lpsnislmx8mkjwnr8j|89Ë8¹jrhq8h~ixwvhq8rgh8
ÌÍÎ¼8ksxxsjn8j|8lwrrm{xh89Ë8¹jrhq8rgmr8uhph8sqqwhv8sn8ijnnhirsjn8usrg8rgh8»pkqrpjnt8ÉnhptoÁ8Èni8rpmnqmirsjn8
                                               8                      8                      889         8                           8                                        8                                                 8   888888888
                                                                                                                                                                                                 De
                       ÐRS!ÑÒ!R
          ¨RS!ÒÒR!S!!! RR!Ý¨¨;Û·R!Ü9R·S¨SýÒRST
                                ¨S;R¨!TTR!; !¨ TTSÜ!Ò!TÒ¨;




                                                                                                                                                                Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
   :ST¨S;RÒÚ!S!!ÛÜR                                                                  ; ÜÜ!ÚÒ!TÒ¨;
  ; Ü                Þ e$#()')I$()%C+A.%?.#&+/)AA+)DI#*-.+(H.)#+A).%+I#)*#)(=+                          !T Þ (b)                             àFá(¸+V.âã?E;;
                                                                                                                            &'*E%(+'$I(E#.+$'H).-.?+)%+ b.           '()*%]+
                             *-.#+.`)&()%C+'*AA$(.#$AJ+"H.+%./+A).%+I#)*#)(=+/$(.#>$AA+                                    H.+*(.&+Y`'H$%C.+
    Û!                   *%+.`)&()%C+%*%@<ad+'*AA$(.#$A+/)AA+F.+ª[¶+Y`(.%?)%C+                             QÝ Þ U%   *(.&+H.A?+F=+(H.+ß­+ àãä·
   Ú!!                  ".#D+d*$%&L+ª]¶+*%@Y`(.%?)%C+".#D+d*$%&L++                                     PÜS! #.&(#)'(.?+WEF&)?)$#).&+/)AA+F.+ V.?E'()*%+)%+




                                                                                                                                                                               Exhibit 6 - MEC Transaction Overview Page 6 of 20
                             ª¶+[J_d+*(.&L+ª¶+]d+*(.&++                                                                                 #.()#.?+$%?+'$%'.A.?++                                                                     .(+d.-.#$C.]

íÜÜ!!T #()')I$()%C+)%-.&(*#&+/)AA+F.+*>>.#.?+-$AE$FA.+ ; Ü                                                                   Þ d*/.#+C*+>*#/$#?+?.F(+OE$%(ED+ àáæç;;
TTT Þ $(e$
                  ??)()*%$A+'*AA$(.#$A+$%?+CE$#$%(..&+)%'#.[D.%($A+(*+ R¨åT
                                                                                                                                         '*DF)%.?+ /)(H+ A*/.#+ '$&H+ <%%E$A++
                                                                                                                                         )%(.#.&(+*%+(H.+[J_d+Y`'H$%C.+ M$&H+N%(.#.&(++
îR .+$&&.(&+'E##.%(A=+)%+(H.+#.&(#)'(.?+C#*EI+
                 H                                                      ÚÒ!T                                                         *(.&+ #.&EA(&+ )%+ &)C%)>)'$%(+ W$-)%C&+
                                                                                                                                         $%%E$A+'$&H+)%(.#.&(+&$-)%C&++

                                                                                                                                        Þ UI+(*+¦]J_+F)AA)*%+*>+?.F(+/)AA+
                                                                                                                                          F.+.`(.%?.?+F=+]J_@J^+=.$#&+ ¸äèæ
                                                                                                                                          I#*-)?)%C+ -$AE$FA.+ ()D.+ (*+ X$(Eé   R
   :¨                                            îTÝT                                     ·ÜÜ
  ïðñòóôõö÷øùôúûü÷                   ÐSý 34ðð45ó2óñüö÷øùôúûü÷                                                                                                     #)
                                                                                                                                                                                (=
                                                                                                                                                                                 +
 T;Ý!íRRR                  þùñò01ö÷øùôúûü÷ïüüñ2ü 6!R!
                                                              7 T!
                                                                                                               P                    '*%()%E.+(*+&E&($)%+>*'E&+*%+ Y`(.%&)*%&+
                                                                                                                                          '$&H+C.%.#$()%C+*I.#$()*%&+$%?+
                                                                                                                                          )%)()$()-.&+
    àácì+
      ää]êë^[ä;;                     àá¸äêæä;;
                                    <%%E$A)8.?+VE%@V$(.+
                                                                         àáçcì+
                                                                             ãê]Ï^ã[ãY+
                                                                                      ;;
               Y++
      <?GJ+YaN"b<+                     <?GJ+YaN"b<+                          <?GJ+YaN"b<+
¼8Æjp8|
      wprghp8vhrmsxqÁ8qhh8qw{qhÇwhnr8lmthq8898Ènixwvhq8ÌÍ¼Ã8ksxxsjn8j|8vsqijwnr8imlrwph8|pjk8rgh8¹jrhq8É~igmnthÁ8mq8uhxx8mq8mn8mvvsrsjnmx8ÌÍÓÓ8ksxxsjn8j|8¼¼9ÎÊ8mnv8ÔÎÂÊ8Õhijnv8Ëshn8¹jrhq8ghxv8{o8
Önphqrpsirhv8Õw{qsvsmpshq8rj8{h8phrsphv8mnv8imnihxhv8Èn8rgh8h}hnr8rgmr8rgh8ÌÍÎ¼8ksxxsjn8j|8lwrrm{xh89Ë8¹jrhq8rgmr8uhph8sqqwhv8sn8ijnnhirsjn8usrg8rgh8»pkqrpjnt8ÉnhptoÁ8Èni8rpmnqmirsjn8mph8lwr8{miy8rj8rgh8
×jklmno8mnv8qw{qhÇwhnrxo8phrsphv8mnv8imnihxhvÁ8rgh8vh{r8phvwirsjn8mnv8nhr8xh}hpmth8phvwirsjn8usxx8{h8ÌÍ9Ô¼8ksxxsjn8mnv8ÌÂÓ~Á8phqlhirs}hxo88À8Ènixwvhq8ÌÍÀ¼8ksxxsjn8j|8imqg8snrhphqr8phvwirsjn8|pjk8rgh8¹jrhq8
É~igmnthÁ8mq8uhxx8mq8ÌÍÃ8ksxxsjn8j|8imqg8snrhphqr8phvwirsjn8|pjk8phrspsnt8¼¼9ÎÊ8mnv8ÔÎÂÊ8Õhijnv8Ëshn8¹jrhq8ghxv8sn8Önphqrpsirhv8Õw{qsvsmpshq8É~ixwvhq8ØÈÙ8ijkljnhnr8fjrmx8mnnwmx8snrhphqr8qm}sntqÁ8snixwqs}h8
j|8ØÈÙÁ8sq8ÌÍ9À8ksxxsjn8Èn8rgh8h}hnr8rgmr8rgh8ÌÍÎ¼8ksxxsjn8j|8lwrrm{xh89Ë8¹jrhq8rgmr8uhph8sqqwhv8sn8ijnnhirsjn8usrg8rgh8»pkqrpjnt8ÉnhptoÁ8Èni8rpmnqmirsjn8mph8lwr8{miy8rj8rgh8×jklmno8mnv8qw{qhÇwhnrxo8phrsphv8
mnv8imnihxhvÁ8rgh8mnnwmx8imqg8snrhphqr8qm}sntq8usxx8{h8ÌÍ8ksxxsjn888fgh8×jklmno8sq8iwpphnrxo8hntmthv8sn8vsqiwqqsjnq8usrg8»½Ë8xhnvhpq8rj8mvvphqq8rgh8wlijksnt8»½Ë8kmrwpsro88
                                                8                      8                      889         8                            8                                        8                                                 8                Î888888888
                                                                                                                                                                                                   De
                         ÏRS! ! ;Û·R!

      !R6R!¨SRÒ¨TÜRÒ¨·!R!;ÛRÒÒS¨;Û·R!!¨ý;RÒ
                                    !S!!Üê!S!!TÜRR;;!$ÜÝT
                                                       ·!R!;ÛRÑê¸èÑêæ                                                             ·ÜÜ;ÛR




                                                                                                                                                                Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
                                                          9êÚ!S!!ÛÜR                                                               Ú!S!!ÛÜR
               !                        <I#)A+]^]^++                                                                      + ,'(*F.#+]^]]+ª]J_+=.$#+.`(.%&)*%¶+
                                       d++°]_+FI&+³+d++°°_+FI&+                                                        + d++°]_+FI&+³+d++°°_+FI&+
                                              "H.+.`)&()%C+'#.?)(+$C#..D.%(+/)AA+H$-.+&EF&($%()$AA=+                            + e$#()')I$()%C+A.%?.#&+/)AA+.%(.#+)%(*+$+%./+&EI.#@




                                                                                                                                                                               Exhibit 6 - MEC Transaction Overview Page 7 of 20
         Ü!í;                       $AA+$>>)#D$()-.+$%?+%.C$()-.+'*-.%$%(&+#.D*-.?+ª-)$+                                 I#)*#)(=+'#.?)(+$C#..D.%(++
                                               '*%&.%(+*>+I$#()')I$()%C+A.%?.#&¶+
                                                                                                                                   c)#&(+A).%+*%+<??)()*%$A+M*AA$(.#$A[L+]+
                                                                                                                                     XE##$=+W*E(H+<D.#)'$L+N%'J+
    íÜÜ!!TTTTÜ  *%.+                                                                                             +  XE##$=+́.%(E'B=+Y%.#C=L+N%'J+$%?+&EF&)?)$#).&+
          îR                                                                                                                 XE##$=+ZA+*F$A+M*DD*?)().&L+N%'Jß­+.OE)(=+)%(.#.&(+
                                                                                                                                         )%+$-.A)%
                                                                                                                                   <??)()*%$A+ZE$#$%(..&+
                            W.'*%?+A).%+*%+.`)&()%C+'*AA$(.#$A+
       ·!R!TTT     e$#()')I$()%C+A.%?.#&+/)AA+'*%&.%(+(*+&EF*#?)%$(.+ + c)#&(+A).%+*%+.`)&()%C+'*AA$(.#$A+
                                  (H.+A).%&+*>+(H.+Y`)&()%C+".#D+d*$%&+(*+(H.+A).%&+
                                  *>+(H.+%./+&EI.#@I#)*#)(=+Y`(.%?.?+".#D+d*$%&+
    ·S¨R!Ü!  *%.+ªB..I+.`)&()%C+>$'.+-$AE.¶+                             + ´..I+.`)&()%C+>$'.+-$AE.+
              ¨        "H.+".#D+d*$%+Y`(.%&)*%+)&+F.)%C+*>>.#.?+(*+[^^±+*>+H*A?.#&+*>+(H.+Y`)&()%C+".#D+d*$%&+$%?+)&+'*%()%C.%(+*%+D)%)DED+
                             I$#()')I$()*%+*>+§_±+I$#()')I$()*%+)%+(H.+".#D+d*$%+Y`(.%&)*%+
 ¼8fgh8»vvsrsjnmx8×jxxmrhpmx8snixwvhq8m8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Õjwrg8»khpsimÁ8ÈniÁ8snixwvsnt8m8lxhvth8j|8ÓÎÊ8j|8Åwppmo8Õjwrg8»khpsimÁ8Èni8hÇwsro8snrhphqr8sn8Åwppmo8×jxjk{smn8¾hqjwpihqÁ8
ËË×Á8{8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8ÈniÁ8mnv8mxx8qw{qsvsmpshq8tpmnr8j|8xshn8j}hp8mqqhrq8j|8ihprmsn8qw{qsvsmpshq8kmo8h~ixwvh8»½Ë8lpsjpsro8ijxxmrhpmxÁ8mnv8i8m8lxhvth8j|8¼ÂÂÊ8j|8
Åw
 98
    ppmo8xj{mx8×jkkjvsrshqÁ8Èni8ÀÊ8hÇwsro8snrhphqr8sn8m}hxsn8
   Åwppmo8Õjwrg8»khpsimÁ8Èni8mnv8mxx8qw{qsvsmpshq8mnv8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni8mnv8mxx8qw{qsvsmpshq8usxx8{h8vhqstnmrhv8mq88¾hqrpsirhv8!"8mnv8usxx8{h8qw{#hir8rj8qhlmpmrh8ij}hnmnrq8wnvhp8
rÀgh8iphvsr8vjiwkhnrq88
  8Åwppmo8Õjwrg8»khpsimÁ8ÈniÁ8mnv8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni8mnv8mxx8srq8qw{qsvsmpshq8usxx8{h8twmpmnrjpq8j|8{jrg8rgh8É~rhnvhv8fhpk8Ëjmnq8mnv8rgh8¹hu8¼ÎË8¹jrhq8
                                                8                      8                      889         8                            8                                        8                                                 8   Ó888888888
                                                                                                                                                                                                   De
                         ¸RS! ! 9R·S¨

   &TÜRÒàáë'ã;!TT!'Ï% Ò·!R!¸Û9R¨  !ÜÜ¨!SRÒÒS¨9R·S¨!ÝR!R
                                                 !¨ý;RR;;!$ÜÝT




                                                                                                                                                                Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
                                                      ·!R!ÏÏ¸ä%:SÜÛ!9R                                                    9ÏäÛ!·S¨9R
               !                        <I#)A+]^][+                                                                     + <I#)A+]^]+ª+=.$#+.`(.%&)*%¶+
                                       [[J]_±+                                                                         +  §±+'$&H+³+±+eŃ+
                                              "H.+.`)&()%C+)%?.%(E#.+/)AA+H$-.+'.#($)%+#.&(#)'()-.+                             + e$#()')I$()%C+%*(.H*A?.#&+/)AA+.`'H$%C.+)%(*+./+[J_d+




                                                                                                                                                                               Exhibit 6 - MEC Transaction Overview Page 8 of 20
              Ü                        '*-.%$%(&+#.D*-.?+ª-)$+'*%&.%(+*>+I$#()')I$()%C+                                     *(.&L+/H)'H+/)AA+F.+C*-.#%.?+F=+$+%./+)%?.%(E#.++
                                               %*(.H*A?.#&¶+
                                                                                                                                   W.'*%?+A).%+*%+<??)()*%$A+M*AA$(.#$A[L+]+
                                                                                                                                     XE##$=+W*E(H+<D.#)'$L+N%'J+
    íÜÜ!!TTTTÜ  *%.+                                                                                             +  XE##$=+́.%(E'B=+Y%.#C=L+N%'J+$%?+&EF&)?)$#).&+
          îR                                                                                                                 XE##$=+ZA*F$A+M*        DD*?)().&L+N%'Jß­+.OE)(=+
                                                                                                                                         )%(.#.&(+)%+$-.A)%+
                                                                                                                                   <??)()*%$A+ZE$#$%(..&+
                            c*E#(H+A).%+*%+.`)&()%C+'*AA$(.#$A++
       ·!R!TTT     e$#()')I$()%C+ %*(.H*A?.#&+ /)AA+ '*%&.%(+ (*+ + "H)#?+A).%+*%+.`)&()%C+'*AA$(.#$A+
                                   &EF*#?)%$(.+(H.+A).%&+*>+(H.+Y`)&()%C+]d+*(.&+(*+
                                   (H.+A).%&+*>+(H.+./+[J_d+*(.&+
    ·S¨R!Ü!  *%.+ªB..I+.`)&()%C+>$'.+-$AE.¶+                             + c*    #+.$'H+¦[L^^^+I#)%')I$A+$D*E%(+*>+]d+*(.&+
                                                                                                 .`'H$%C.?L+¦°^+I#)%')I$A+$D*E%(+*>+[J_d+*(.&++
              ¨         e#*+>*+#D$+>*#+(H.+"#$%&$'()*%L+(H.+M*DI$%=+/)AA+H$-.+F$&B.(&+(*+$AA*/+>*#+¦[[_+D)AA)*%+*>+$??)()*%$A+I$#)+I$&&E+[J_+A).%+
                             ?.F(
 ¼8fgh8»vvsrsjnmx8×jxxmrhpmx8snixwvhq8m8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Õjwrg8»khpsimÁ8ÈniÁ8snixwvsnt8m8lxhvth8j|8ÓÎÊ8j|8Åwppmo8Õjwrg8»khpsimÁ8Èni8hÇwsro8snrhphqr8sn8Åwppmo8×jxjk{smn8¾hqjwpihqÁ8
ËË×Á8{8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8ÈniÁ8mnv8mxx8qw{qsvsmpshq8tpmnr8j|8xshn8j}hp8mqqhrq8j|8ihprmsn8qw{qsvsmpshq8kmo8h~ixwvh8»½Ë8lpsjpsro8ijxxmrhpmxÁ8mnv8i8m8lxhvth8j|8¼ÂÂÊ8j|8
Åw
 98
    ppmo8xj{mx8×jkkjvsrshqÁ8Èni8ÀÊ8hÇwsro8snrhphqr8sn8m}hxsn8
   Åwppmo8Õjwrg8»khpsimÁ8Èni8mnv8mxx8qw{qsvsmpshq8mnv8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni8mnv8mxx8qw{qsvsmpshq8usxx8{h8vhqstnmrhv8mq88¾hqrpsirhv8!"8mnv8usxx8{h8qw{#hir8rj8qhlmpmrh8ij}hnmnrq8wnvhp8
rÀgh8iphvsr8vjiwkhnrq88
  8Åwppmo8Õjwrg8»khpsimÁ8ÈniÁ8mnv8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni8mnv8mxx8srq8qw{qsvsmpshq8usxx8{h8twmpmnrjpq8j|8{jrg8rgh8É~rhnvhv8fhpk8Ëjmnq8mnv8rgh8¹hu8¼ÎË8¹jrhq88
 8fgh8h~igmnth8pmrsj8mnv8ijwljn8j|8mno8|wrwph8h~igmnthq8kmo8vs||hp8rgmn8rhpkq8sn8rgh8¹jrhq8É~igmnth8fjrmx8ijwljn8jn8|wrwph8h~igmnthq88sn}jx}snt8rgh8h~sqrsnt89Ë8¹jrhq8sq8imllhv8mr8¼9Ê8snixwvsnt8ØÈÙ88
                                                8                      8                      889         8                            8                                        8                                                 8   Ã888888888
                                                                                                                                                                                                   De
                               :
                                 R  S  !
                                                  !
                                   SRÜ(RRÜÚå;!T!$!
                                       :SR                                                                                                                                                                  (RR
   ./+Y`(.%?.?+".#D+d*$%&                                                            ¦[L^[                                                                             Y`(.%?+Y`)&()%C+".#D+d*$%&                                                                                                    ¦[L^[
   ./+[J_+d).%+Y`'H$%C.+*(.&                                                           §                                                                             Y`'H$%C.+[[J]_±+W.'*%?+d).%+*(.&                                                                                                \°^
   b)&'*E%(+M$I(E#.                                                                      [°                                                                             Y`'H$%C.+§J_^±+W.'*%?+d).%+*(.&                                                                                                   ]
   V.()#.+$%?+M$%'.A+§J_^±+$%?+[[J]_±+W.'*%?+d).%+*(.&                                   \\                                                                             V.()#.+$%?+M$%'.A+§J_^±+$%?+[[J]_±+W.'*%?+d).%+*(.&                                                                              \\
   T:SR                                                                       á¸äæ+                                                                              T(RR                                                                                                                     á¸äæ+




                                                                                                                                                                                                         Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
         +                                                                                                                              Úå;
                                                                                                                                                                                 ·íÜ-
                                                                                                                                                                                ÑQí
                                                                                                                                                                                                  ·íÜ-ÑQí
                                                                                                                                                                                                S:íÐ
               +
   M$&H+.+YOE)-$A.%(&
                                                                            í;                                   ,
                                                                                             ¦\ ++++++++++++++++++++++++++++++++@
                                                                                                                                                í;
                                                                                                                                                               ¦\
                                                                                                                                                                               áä¸ä;; æ              áëÏä;; â                                                                                 !

                     +
   <ad+V.-*A-.#+ª¦]]_DD¶[
   ./+Y`(.%?.?+".#D+d*$%+a@]+
Ï .
                                                                   ++++++++++++++++++++++++++++++++@ +++++++++++++++++++++++++++++++@
                                                                   ++++++++++++++++++++++++++++++++@                        [L\]§
                                                                                                                                    + +++++++++++++++++++++++++++++++@
                                                                                                                                                             [L\]§
                                                                                                                                                                     +                                                                                                              d++[°_+@+]]_
                                                                                                                                                                                                                                                                                          d++°]_
                                                                                                                                                                                                                                                                                                        b.'@[
                                                                                                                                                                                                                                                                                                        ,'(@]]
                     +
      /+Y`(.%?.?+".#D+d*$%+a@+                                    ++++++++++++++++++++++++++++++++@                           [°                              [°                                                                                                                       d++°°_       ,'(@]]




                                                                                                                                                                                                                        Exhibit 6 - MEC Transaction Overview Page 9 of 20
   TíÑÛè:êÚ!!QÝ                                    ê                     áÏçãÏ                            áÏçãÏ                        æâ·                                ¸+·
   9íÑÛè:êÚ!!QÝ                                                                   ëæ                          ÏçãÏ                             Ï'æ+                      ææ·                                ¸ç·
   ".#D+d*$%+a@]+                                                                       ¦[L\]§                           ¦ª[L\]§¶++++++++++++++++++++++++++++++++    @                                                                                                                    d++°]_       <I#@]^
   ".#D+d*$%+a@+                                                                             [°                             ª[°¶+++++++++++++++++++++++++++++++@  +                                                                                                                    d++°°_       <I#@]^
¸ ./+[J_+d).%+Y`H$%C.+*(.&]                                     ++++++++++++++++++++++++++++++++@                           §                              §                                                                                                             §±+M$&H+/+±+eŃ        <I#@]
   TÏÛèÏäÛQÝ                                                                   áÏçãÏ                               áâ+ç                          á¸¸++                        ââ·                                æ'·
   9ÏÛèÏäÛQÝ                                                                        Ï'æ+                                â+ç                           ¸¸æë                      âæ·                                æë·
   §J_^±+W.'*%?+d).%+*(.&+ªeEFA)'¶                                                            ¦]                               ¦ª]¶++++++++++++++++++++++++++++++++ @                                                                                                                   §J_^±          b.'@]^
   §J_^±+W.'*%?+d).%+*(.&+ª<>>)A)$(.@,/%.?¶                                                      _                               ª_¶++++++++++++++++++++++++++++++++@                                                                                                                   §J_^±          b.'@]^
   [[J]_±+W.'*%?+d).%+*(.&+ªeEFA)'¶                                                          §§\                             ª\°^¶                             ]\                                                                                                                     [[J]_±          <I#@][
   [[J]_±+W.'*%?+d).%+*(.&+ª<>>)A)$(.@,/%.?¶                                                   \[                              ª\[¶++++++++++++++++++++++++++++++++ @                                                                                                                  [[J]_±          <I#@][
   ,(H.#+b.F(                                                                                     _ ++++++++++++++++++++++++++++++++@                               _                                                                                                                     0$#).&         0$#).&
   TQÝ                                                                             á¸ç'ã                               á¸âã                          á¸ëæã                        äã·                                âæ·
   9TQÝ                                                                             ¸çãç                                ¸âã                           ¸äë'                      â+·                                â¸·
   åé¸ãÏçíÜ-ÑQíæ                                                                   áä¸ä                                                      RS!&!¨T!¨R
   ;åé¸ãÏçíÜ-ÑQíS:íÐâ                                                ëÏä
                                                                                                              b.'#.$&.+)%+%.(+A.-.#$C.+*>+^J_`+(H#*ECH+¦]^+D)AA)*%+*>+?)&'*E%(+'$I(E#.+$%?+#.()#.D.%(+*>+%*(.&_+
                                                                                                              <%%E$A+'$&H+)%(.#.&(+&$-)%C&+*>+¦+D)AA)*%\+
                                                                                                              W)C%)>)'$%(+D$(E#)(=+I#*>)A.+.`(.%&)*%+
   ¹j rhº8Æjp8sxxwqrpmrs}h8lwpljqhqÁ8mqqwkhq8¼ÂÂÊ8lmprsislmrsjn8sn8rgh8fhpk8Ëjmn8É~rhnqsjn88
   ¼8fgh8 ×jklmno8sq8iwpphnrxo8hntmthv8sn8vsqiwqqsjnq8usrg8»½Ë8xhnvhpq8rj8mvvphqq8rgh8wlijksnt8kmrwpsro8898Ènixwvhq8ÌÍ98ksxxsjn8j|8h~igmnthv8ÔÎÂÊ8Õhijnv8Ëshn8¹jrhqÁ8ugsig8usxx8kmsnrmsn8rghsp8h~sqrsnt8snrhphqr8pmrh8mnv8
      kmrwpsro8vmrh88À8Æ)89Â¼ÄÉ8»v#8É½Èf¿»8ph|xhirq8ksvljsnr8j|8twsvmnih8ÍÎÂÂzÎÎÂ8ksxxsjn8|jp8rgh8phqrpsirhv8tpjwl888ÈnixwvhqÎ8ksvljsnr8j|8Æ)89Â¼ÄÉ8»v#8É½Èf¿»8twsvmnih8j|8ÍÎÎzÓÎ8ksxxsjn8|jp8Åwppmo8Õjwrg8»khpsimÁ8
      Èni8mnv8ksvljsnr8j|8mnnwmxs*hv8pwnzpmrh8»v#8É½Èf¿»8twsvmnih8j|8Í9ÎzÀÎ8ksxxsjn8|jp89Â¼Ä8|jp8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni888Èn8rgh8h}hnr8rgmr8rgh8ÌÍÎ¼8ksxxsjn8j|8lwrrm{xh89Ë8¹jrhq8rgmr8uhph8sqqwhv8sn8ijnnhirsjn8usrg8
      rgh8»pkqrpjnt8ÉnhptoÁ8Èni8rpmnqmirsjn8mph8lwr8{miy8rj8rgh8×jklmno8mnv8qw{qhÇwhnrxo8imnihxhv8mnv8phrsphvÁ8rgh8vh{r8phvwirsjn8mnv8nhr8xh}hpmth8phvwirsjn8usxx8{h8ÌÍ9Ô¼8ksxxsjn8mnv8ÌÂÓ~Á8phqlhirs}hxo88Ó8Ènixwvhq8
      ÌÍÀ¼8ksxxsjn8j|8imqg8snrhphqr8phvwirsjn8|pjk8rgh8¹jrhq8É~igmnth8mnv8ÌÍÃ8ksxxsjn8j|8imqg8snrhphqr8phvwirsjn8|pjk8phrspsnt8¼¼9ÎÊ8mnv8ÔÎÂÊ8Õhijnv8Ëshn8¹jrhq8ghxv8sn8Önphqrpsirhv8Õw{qsvsmpshq8É~ixwvhq8ØÈÙ8
      ijkljnhnr8fjrmx8mnnwmx8snrhphqr8qm}sntqÁ8snixwqs}h8j|8ØÈÙÁ8sq8ÌÍ9À8ksxxsjn8Èn8rgh8h}hnr8rgmr8rgh8ÌÍÎ¼8ksxxsjn8j|8lwrrm{xh89Ë8¹jrhq8rgmr8uhph8sqqwhv8sn8ijnnhirsjn8usrg8rgh8»pkqrpjnt8ÉnhptoÁ8Èni8rpmnqmirsjn8mph8lwr8
      {miy8rj8rgh8×jklmno8mnv8qw{qhÇwhnrxo8phrsphv8mnv8imnihxhvÁ8rgh8mnnwmx8imqg8snrhphqr8qm}sntq8usxx8{h8ÌÍ8ksxxsjn88
                                                       8                            8                                  889               8                                        8                                      8                                                             8                Ä888888888
                                                                                                                                                                                                                                            De
            RS!!;T!;Û·R!
                                                        7
                              :                     1          å      :
                                                                            [+       ]+
                              +       â        _+           \+      °+     +      §+




                                                                                           Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
                              [^+      [[+      []+          [+ Ïâ        Ïä      [\+
                              [°+      [+      [§+          ]^+ ][+        ]]+      ]+
                              ]+      ]_+      ]\+          ]°+ ]+        ]§+      ^+
                                                            ´.=+b$(.+




                                                                                                         Exhibit 6 - MEC Transaction Overview Page 10 of 20
                                                               ;Û·R!
     7â¸ãÏç         d$E%'H+(#$%&$'()*%+
     7Ïâ¸ãÏç        W)C%$(E#.+I$C.&+?E.+$(+_©^^ID+Y"+
     7Ïä¸ãÏç        <AA*'$(.+(#$%&$'()*%+
                          Z*A?D$%+W$'H&+M*%($'(&©+
     ÐSR            b$-)?+d)&'H.#©+ª][]¶+§^]@[^]+2+b$-)?Jd)&'H.#3C&J'*D++
                            e$(+<#D&(#*%C©+ª][]¶+§@^§°+2+e$(#)'BJ<#D&(#*%C3C&J'*D+
                            Y-$%+MH$&.©+ª][]¶+_°@\§§+2+Y-$%JMH$&.3C&J'*D++
7!ÛÜíRÜ  Z*A?D$%+W$'H&+
   7!ÑýR  b.E(&'H.+a$%B+

                          8            8              889      8          8                                8                                                 8   Ô888888888
                                                                                                                              De
:;;ÒíÜÜ!!T




                 Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58      De
                               Exhibit 6 - MEC Transaction Overview Page 11 of 20
        TTT




                                                                               89  
               !ÒíÜÜ!!TTTT!$ÜíRRR
  !ÝÜRRRR¨!¨ê6T!;!!RRRÜ!R!TÜ!TÝTÜ!TÒ; 
                          ¨!S¨;!TT¨S5ñù5ñòüû÷üñô6òó21÷7õô8õ0ñ
í                                          Ñ                                                  




                                                                                                          Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
     :¨í;!SS                    ÐSýS                             îTÝT
                                                                                                         ;;Ü!!RS
 e#.D)ED+ OE$A)(=L+ H)CH+ a(E+ '*$A+            4)CH+OE$A)(=+#.&.#-.&+A*'$(.?+)%+(H.+          c*#D.?+F=+(H.+D$%$C.D.%(+(.$DL+
  #.&.#-.&+ª?.-.A*I.?+$%?+E%?.-.A*I.?¶+           NdaL+(H.+D*&(+$((#$'()-.+'*$A+F$&)%+)%+         XE##$=+$%?+U%)I.#+(*+FE)A?+$+&E''.&&>EA+
                                                  (H.+UW+                                         DEA()@'*DD*?)(=+D$#B.()%CL+(#$?)%C+$%?+




                                                                                                                        Exhibit 6 - MEC Transaction Overview Page 12 of 20
 Y`I*&E#.+(*+$((#$'()-.+I#)'.&+)%+(H.+                                                           )%-.&(D.%(+>#$%'H)&.+
  &.$F*#%.+'*$A+D$#B.(+                          d*/+'*&(+E%?.#C#*E%?+'*%()%E*E&+               ,%.+*>+(H.+A$#C.&(+(#$?.#&+*>+'*$A+)%+(H.+
                                                  D)%)%C+*I.#$()*%&++                             UW+$%?+M*A*DF)$L+(#$?)%C+/)(H+*-.#+^+
 d*/+'*&(+*I.#$()*%&+/)(H+-.#=+A*/+                                                              '*E%(.#I$#().&+CA*F$AA=+
  D$)%(.%$%'.+ '$I.`+ #.OE)#.D.%(&L+             d*/+'*&(+(#$%&I*#($()*%+*I()*%$A)(=+           XEA()IA.+'*$A+&EIIA=+$C#..D.%(&+/)(H+
  &EII*#()%C+&(#*%C+'$&H+>A*/+C.%.#$()*%+         $'#*&&+#$)AL+(#E'BL+$%?+F$#C.+.`I$%?&+          UW+E()A)().&+(*+&EIIA=+'*DF)%$()*%&+*>+
 W)C%)>)'$%(+,d+F$A$%'.&+H.AI&+*>>&.(+          D$#B.(+*II*#(E%)().&+                           M<eeL+<eeL+eVaL+Nda+$%?+'*$A+>#*D+
  ($`+I$=D.%(&+)%+(H.+D.?)ED+(.#D+                                                                DEA()IA.+)%(.#%$()*%$A+&*E#'.&+
                                                 <F)A)(=+(*+.`I*#(+>#*D+(H.+K.&(.#%+            XEA()@=.$#+$C#..D.%(&+/)(H+D$G*#+
 <''.&&+(*+.`(.%&)-.+)%>#$&(#E'(E#.+             ´.%(E'B=+D)%.&+I#*-)?.&+(H.+*I()*%+(*+          #$)A#*$?&+ /)(H+ DEA()IA.+ A*$?+ $%?+
  %.(/*#B+ (H#*ECH+ #$)A#*$?&+ $%?+               I$#()')I$(.+)%+(H.+&.$F*#%.+D$#B.(++            ?)&'H$#C.+I*)%(&L+$%?+H$&+&H)II.?+/)(H+
  $''.&&)F)A)(=+(*+DEA()IA.+*'.$%+I*#(&+                                                          _+D$G*#+UW+#$)A#*$?&+$%?+°+UW+D$#)%.+
                                                 ,I.#$(.?+F=+H)CHA=@&B)AA.?L+%*%@E%)*%+          I*#(&+
 [°±+*/%.#&H)I+)%+c.%*'*+V$)A/$=+                /*#B>*#'.+                                     c*#D.?+$+D.(+'*$A+D$#B.()%C+$%?+
                                                                                                  (#$?)%C+ (.$DL+ A.-.#$C)%C+ *>>+ (H.+
 d$#C.A=+%*%@E%)*%)8.?+/*#B>*#'.+                 +                                              .&($FA)&H.?+CA*F$A+%.(/*#B+
                                                                                                 e#*-)?.&+ >E.A+ I#*'E#.D.%(+ $%?+
  +                                                                                               )%-.%(*#=+D$%$C.D.%(+&.#-)'.&+(*+
                                                                                                  DEA()IA.+UW+.A.'(#)'+C.%.#$()%C+&($()*%&+
                             8              8               889     8                  8                     8                                                              8   ¼¼888888888
                                                                                                                                             De
                           !Ò:¨í;!SS
                         í
                             !Ò!R                                                                                           ÛS!RÒíRRR
   ,I.#$()*%&+)%'AE?.++'*%'.&&)*%&L+/)(H+]+*I.#$()%C+$%?++C#..%>).A?+
    D)%.&J+"H.]*I.#$()%C&E#>$'.+D)%.&$#.©
     d$+c#$%')$©+e#*?E'()*%+*>+]+X(I$+$%?+\J_+X(+*>+#.&.#-.&+




                                                                                                                                                                  Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
     YA+4$()AA*©+e#*?E'()*%+*>++X(I$+$%?+]°+X(+*>+#.&.#-.&+
   e#.D)ED+OE$A)(=L+H)CH+a(E+'*$A+I#*?E'(+/)(H+&(#*%C+I#)'.+#.$A)8$()*%&+
   d*/+'*&(+*I.#$()*%&+/)(H+A*/+D$)%(.%$%'.+'$I.`+&EII*#(&+&(#*%C+'$&H+
    >A*/C.%.#$()*%




                                                                                                                                                                                Exhibit 6 - MEC Transaction Overview Page 13 of 20
   W(#$(.C)'$AA=+A*'$(.?+$&&.(&+(H$(+$#.+$FA.+(*+&.#-.+<(A$%()'+$%?+e$')>)'+
    a$&)%&
     e$')>)'+a$&)%+#.I#.&.%(&+$((#$'()-.+D$#B.(+C)-.%+&)8.+$%?+C#*/(H+
         I#*&I.'(&                                                                                                                                                                                                                            ªe#*?.'*¶+
                            :;;ÒÐíRRR                                                                          Ðå!S!T!Ú;R
            +'*$A+'*%'.&&)*%&+ª]+*I.#[$()%C+$%?++C#..%>).A?+D)%.&¶                                                                                                                                       ¸ãÏë                             ¸ãÏ'
             )%+(H.M.&$#D)%)%C?)&(#)'(+
   !!  []X( X(**>&
                        > E#>$'.#.&.#-.&+ªEI+(   (*+[+X(
                                                         X(+)%'AE?)%C                                         "*%&+e#*?E'.?+ªX(¶+                                                                            J+                              J^+
             E%?.#C#*E%?#.&.#-.&¶I#*-)?.&)C%)>)'$%(EI&)?./)(H                                                 "*%&+W*A?+ªX(¶+                                                                                J_+                              J+
             I#)'.#.'*-.#=
            [°±+*/%.#&H)I+))%+(H.+c.%*'*+#$)A+A)%.+CE$#$%(..)%C                                              e#)'.+V.$A)8$()*%+ª>J*JFJ+D)%.¶]+ª¦³(¶+                                                      ¦]§J[+                           ¦[J^+
    P!T  '[$[A
                I$')(=**>°+X(I$
               [ *'*D*()-.&+$%?+_]+K$C*%&+$AA*/)%C+>*#+_+>EAA+(#$)%                                          M$&H+M*&(&+ª¦³(¶+                                                                           ¦]]J]]+                           ¦]§J_§+
             &.(&ª[^@[[+X(I$'$I$')(=¶                                                                         YaN"b<+ª¦DD¶+                                                                                  ¦[+                              ¦_+
            [^^±+*/%.#&H)I+**>+(H.+V)*+M*#?*F$+"#$%&A*$?)%C
    Ú     c$')A)(=
            <IIA).?+>*#+$+%./+'*%'.&&)*%+>*#+$+'*$A+(.#D)%$A+I#*G.'(+                                        åé¸ãÏçíÜ-ÑQíTÜÝáää;!TT!ÝRÜíÚê¸á'+
                                                                                                                              TR!ÜSÒáääêëä;!TT!
Õjwpihº8×jklmno8Øphqhnrmrsjnq8mnv8ÆsxsntqÁ8Øw{xsi8Æsxsntq8
¹jrhº89jxwkhq8qgjun8sn8khrpsi8rjnnhq98
¼Õgjun8   sn8lwplxh8qgmvsnt8jn8rgh8kml88¿h|snhv8mq8×jmx8Õmxhq8¾h}hnwh8:8fpmnqljprmrsjn8mnv8fpmnqxjmvsnt8É~lhnqh8;8fjnq8Õjxv88À8Èniphmqh8sn8imqg8ijqrq8vps}hn8{o8gstghp8qrpsl8pmrsjq8mnv8rgh8phzqrmpr8j|8rgh88
 Éx8<mrsxxjijnihqqsjn8ugsig8phÇwsphv8qstns|simnr8kwv8phkj}mx8<stghp8»ØÈz98lpsihq8mxqj8phqwxr8sn8gstghp8pjomxro8h~lhnqhq8
                                               8                      8                      889          8                           8                              8                                                              8                 ¼9
                                                                                                                                                                                                     De
                          !ÒÐSýS
                        Ñ
                              !Ò!R                                                 ÛS!RÒíRRR
 ,I.#$()*%&+H$-.+*-.#+^^+.DIA*=..&$'#*&&(/*+*I.#$()%C+E%?.#C#*E%?+
  $%?(H#..)?A.?&E#>$'.D)%.&))%( % H.Nda
   N%>#$&(#E'(E#. )%'AE?.&+(H#.. '*$A+I#*'.&&)%C+IA$%(&+$    $&+/.AA+$ $&+
       '.#($)%#)-.#?*'B'*$AH$%?A)%C+$%?#$)AA*$?*E(>$')A)().&




                                                                                                                  Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
 <'OE)&)()*%'*%&)&(.%(+/)(Hß­&(#$(.C=*   *>$
                                                 > 'OE)#)%C+H)CH+a(EL+A*/+
  '*&(*I.#$()*%&/H.#.+)('  ( $%A.-.#$C.)(&D$%$C.D.%($%?D$#B.()%C+
  .`I.#()&.
 4)CH+a(E+'*$A+I#*?E'(+/)(H+A*/+'*&(+*I.#$()*%&+(H$(+F.%.>)(+>#*D+
  (#$%&I*#($()*%*I()*%$A)(=$'#*&&+#$)AL(#E'BL$%?F$#C.
   <&&.(&$A&*A*'$(.?))%+'A*&.I#*`)D)(=(       (*
                                                * ß­+e$#$?)&.+X)%.+
       $%?H$-.I#*-)?.?+$F)A)(=+>*#e$#$?)&.((*$* ''.&&+#$)A(#$%&I*#($()*%++




                                                                                                                                Exhibit 6 - MEC Transaction Overview Page 14 of 20
 N% $ &H*#(.%.? =[ ]^[ ªD)?@c.FJ(H#*ECH+X$#J           [¶L*
                                                             L I.#$()*%&+
  I#*?E'.?^J_+D(+$%?&*A?^J_D(     D(L+C.%.#$()%C#.-.%E.+*>¦ > [§DD $%?+
  YaN"b<*  *>¦°DDDD++
   c)%$%')$A+I.#>*#D$%'.+E%?.#I)%%.?+F=+¦§J\]³(+I#)'.+#.$A)8$()*%&+
       $%?¦]J³('$&H'*&(&
 XE##$=.`I.'(&*I.#$()*%&+/)AA+I#*?E'.+J_@J^+D(+*>+'*$A+I.#+=.$#+$%?+
  C.%.#$(.$%%E$AYaN"b<**>¦   > ]_@_DD DD+>*AA*/)%C+)DIA.D.%($()*%* *>+*%@
  C*)%C)%)()$()-.&$%?#.$A)8$()*%**>&=%.#C).&
                              !Ú;R
                                   îR!R! Ú!Ü!                         íS¨! ;RÜ!!!R(Ü
 "=I.+*>+X)%.+                      U%?.#C#*E%?+ U%?.#C#*E%?+                                   MA*&.??*/%E%.'*%*D)'&E#>$'.I#*I.#().&+
 X.(H*?*A*C=+                        M*%()%E*E&++       M*%()%E*E&++             !T    V.G.'(.?+F.A*/D$#B.(&$A.&'*%(#$'(
 e#*?E'()*%+M$I$')(=+ªDD+(*%&¶+          J^+                J^+               íS¨! ;R    V)CH(&)8.?+A$F*#>*#'.?$%?#.?E'.?+'*%(#$'(+A$F*#+
                                                                                                W)C%)>)'$%(A=#.?E'.?WZ.<'*&(&
 V.&.#-.&+ªDD+(*%&¶+                    ]J+               _J[+                               .C*()$()%C+&EF&($%()$AA=+A*/.#+#*=$A(=+#$(.&+
 a(E+³+AF+                             [[L°°+             [[L§+               !!!R      ,I.#$()*%$A)%)()$()-.&(  (* )%'#.$&. I#*?E'()-)(=+$
                                                                                                                                                   $(
 dF&+W,]+³+DD+a(E+                      J_+               J°§+                (Üè     U³ZD)%.&
                                                                                 :!R     Y`I.'(.?+I#*'E#.D.%(+³+*I.#$()*%$A+&=%.#C).&+*>
            íT!$ÜêíÜ-ÑQíÒá¸äêæä;!TT!                                    ¦@\DD
Õjwpihº8×jklmno8Øphqhnrmrsjnq8mnv8ÆsxsntqÁ8Øw{xsi8Æsxsntq8
                                             8               8      889        8             8                       8                                                              8   ¼À
                                                                                                                                                     De
                          !ÒîTÝT;;Ü!!RS
                        

                                 !Ò7 T!                                               ¸ãÏçîTÝT:ÝR¨åTR
 $-.A)%+ZA*F$A+M*DD*?)().&+>?@¬+*#+>A¤ +)&+$+CA*F$A+'*DD*?)().&+
  (#$?)%CLA*C)&()'&L*I.#$()*%&$%?)%-.&(D.%('*DI$%=>*'E&.?*          *%(
                                                                     % H.#D$A+
  '*$ALD.($AAE#C)'$A'*$AL)#*%*#.L*)A$%?#.A$(.?D$#B.(&                                                                YXY<+
                                                                                                                     [J_+X(+




                                                                                                                                     Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
                                                                                                                                                                                                                                 <e+
                                                                                                                                                                                                                                  <e
 ,>>)'.&+A*'$(.?+)%+d*%?*%L+./+ì*#BL+4*E&(*%L+BECL+".A+<-)-+$%?+W)%C$I*#.+                                                                                                                                            M4N+ +X(+
 $-.A)%+/$&+>*#D.?+)%+E%.+]^[_+F=+$+D$%$C.D.%(+(.$D+ª±¶         ¶L+XE##$=+                         MVa+
                                                                                                        MVa                                                                                                            J_+X(+ ´,V+
  Y%.#C=M*#I*#$()*%ª±¶$%?+U%)I.#WY       WYª]±¶                                                      [+X(+                                                                                                                 [+X(+
                                                                                               XYC                                                                                                           Nb+³+
    X$%$C.D.%(+(.$D+H$&+*-.#+[^^+=.$#&+'*AA.'()-.+.`I.#).%'.+)%+IH=&)'$A+                     J_+X(+                                                                                                       WUaM,+
      (#$?)%C$%?I#)-$(.+.OE)(=))%(% H.'*$AFE&)%.&&$%?I#.-)*E&A=/*#B.?+$(+                                                                                                                                     _+X(+
      D$G*#)%?E&(#=IA$=.#&                                                                                             aV<+




                                                                                                                                                   Exhibit 6 - MEC Transaction Overview Page 15 of 20
                                                                                                   W<++
                                                                                                   W<                  J_+X(+
    U%)I.#+)&+$%+.%.#C=+'*DI$%=+/)(H+*-.#+^+ZK   ZK+*>+C.%.#$()*%+)%+YE#*I.+                    ]+X(+
      $%?VE&&)$JU%)I.#C.%.#$(.?+¦]J[+F)AA)*%)     )%YaN
                                                   % "b<)    )%]
                                                              % ^[°$%?H$&+$+
      D$#B.(+'$I**>¦[^F ^ )AA)*%+                                                            $-.A)%+,>>)'.&+              X)%*#+cA*/&+                                                                                X$G*#+cA*/&+
 >?@¬ß­+&(#$(.C)'+#.A$()*%&H)I&+/)(H+)(&+&H$#.H*A?.#&+)%'AE?.&+$+DEA()@=.$#+
  $##$%C.D.%(/)(HU%)I.#>*#+¦[_D)AA)*%))%>    % )%$%')%C³'#.?)(A)%.&                                      Ðå!S!TÚ;R
 $-.A)%+H$&+$'H).-.?+DE'H+&)%'.+)(&+*%&.(+H$-)%C+#.'.)-.?+'E&(*D.#+$%?+
  )%?E&(#=+I$#()')I$%(#.'*C%)()*%$$&$D$
                                    & G*#>*#'.)      )%(
                                                      % H.'*DD*?)(=+D$#B.(&+         á!!TT!R                                                                                                            ¸ãÏë                    ¸ãÏ'
  $%?+I.#>*#D.?+/.AA>*#)(&&H$#.H*A?.#&+                                              V.-.%E.+                                                                                                                  áëæë               áÏæãæ
    ,%.+*>+(H.+A$#C.&(+'*$A+(#$?.#&+)%+(H.+UWUW+$%?+M*A*DF)$+$%?+(#$?.?+/)(H+       YaN"b<[++                                                                                                                     æ                   'ç
      *-.#^'
             ^ *E%(.#I$#().&CA*F$AA=)%'AE?)%C+$''*E%(&+)%(  % H.UWL+d<"<XL+
      YE#*I.LVE&&)$$%?<&)$                                                           M$&H+a$A$%'.+                                                                                                                æâ                   â'
    WH)II.?+*-.#+[J_+D(+*>+'*$A+)%+]^[\+$%?+]^+D(+)%+]^[°J+e#*G.'(.?+(*+           "*($A+<&&.(&+                                                                                                               ¸ää                  âã+
      &H)I+°^D(
            ^D()%+]^[+                                                              a**B+0$AE.+*>+YOE)(=+                                                                                                        çæ                  Ïæâ
    c)%$%')$A+$%?+IH=&)'$A+(#$?)%CL+IH=&)'$A+&'H.?EA)%C+$%?+#)&B+
      D$%$C.D.%(+&=&(.D&+*%$DE  % A()+'*DD*?)(=+IA$(>*#D                                                ÑýÜÒ6!RR
    c*#D.?+$+D.($AAE#C)'$A+'*$A+D$#B.()%C+$%?+(#$?)%C+(.$D+(H$(+'$%+
      A.-.#$C.(H.CA*F$A%.(/*#B$%?)%>#$&(#E'(E#.#.A$()*%&H)I&                                                                                                                                                             
                                                                                                                      X$%$C.D.%(+W.#-)'.&+
                  åé¸ãÏçíÜ-ÑQíÒáçãêÏãã;!TT!                                      ±+                         ±                                                                                        ]±+
Õjwpihº8×jklmno8Øphqhnrmrsjnq8mnv8ÆsxsntqÁ8Øw{xsi8Æsxsntq8                                                                      
¼×mxiwxmrhv8mq8qwk8j|8jlhpmrsnt8lpj|sr8mnv8vhlphismrsjn8mnv8mkjprs*mrsjn8
                                              8                      8       889    8                       8                           8                                                                          8                   ¼
                                                                                                                                                                        De
íÜÜ!!TÒ;!




              Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58      De
                            Exhibit 6 - MEC Transaction Overview Page 16 of 20
     íÜ!·




                                                                            89  
                        :;;!$!T¨
                                                                                                                             9TTT©++
                                                        DEFFGHIJKLFMHI                                                        <AA++$&&.(&+$%?+[^^±+*>+.OE)(=+*>+XE##$=+
                                                       NOPQRKMSITOUVGKHW                                                        W*E(H+<D.#)'$L+N%'JL+)%'AE?)%C+$+IA.?C.+*>+
                                                                                                                                \_±+*>+XE##$=+W*E(H+<D.#)'$L+N%'Jß­+




                                                                                                                                      Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
                                                                                                                                .OE)(=+)%(.#.&(+)%+XE##$=+M*A*DF)$%+
                                                                     ¼ÂÂÊ8                                                 + V.&*E#'.&L+ddM+
                                                                                                                              <AA+$&&.(&+$%?+[^^±+*>+.OE)(=+*>+XE##$=+
                            jLdXW                         DEFFGHIJKLFMHI                                                        ´.%(E'B=+ [+Y%.#C=L+ N%'JL+ $%?+ $AA+
                                                           TOFVOFGXROKW                                                         &EF&)?)$#).&
                                                                                                                              <+IA.?C.+*>+[^^±+*>+XE##$=+ZA*F$A+




                                                                                                                                                    Exhibit 6 - MEC Transaction Overview Page 17 of 20
                                                                                                                                M*DD*?)().&L+N%'Jß­+±+.OE)(=+)%(.#.&(+)%+
    655h                                           655h                             ¼ÂÂÊ8                   ¼ÂÂÊ8             $-.A)%+
   DEFFGHIYOEXZII                                                                                     gXZLFITEFFLKXI         9îR
   [ULFR\G]I^K\_I                     DEFFGHIIbLKXE\cHI                    DEFFGHIiPOdGPI              eLSXFR\XLQI         +  XE##$=+W*E(H+<D.#)'$L+N%'J+
      D̀Y[^aW                           JKLFMH]I^K\_I                     TOUUOQRXRLS]I^K\_I          YEdSRQRGFRLSI
                                                                                                                              XE##$=+´.%(E'B=+Y%.#C=L+N%'J+$%?+$AA+
    ¼ÂÂÊ8 noh                                      655h                                  m2h                                 &EF&)?)$#).&+
                                          bLKXE\cHI                                                                          9:S!Ò!ÜPR!SÜ:ÝR!Ü!!R
DEFFGHIITOPOUdRGKI                        gVLFGXRKIMI                            kGlLPRKI
 eLSOEF\LS]IffTI                           [SSLXS                                                                          +  XE  ##$=+W*E(H+<D.#)'$L+N%'J+$%?+$AA+
                                                                                                                                &EF&)?)$#).&+
                                                                                                                              XE##$=++´.%(E'B=++Y%.#C=L+N%'J+$%?+$AA+
                                                                                                                                &EF&)?)$#).&+
     TOPOUdRGKI
     gVLFGXRKIMI                                                                                                           +  ME##.%(+V.&(#)'(.?+WEF&)?)$#).&++
      [SSLXS

                                                                                                                           +  ME##.%(+U%#.&(#)'(.?+WEF&)?)$#).&++
                                                                                                                               +
¼8
 pmnr8j|8xshn8j}hp8mqqhrq8j|8ihprmsn8qw{qsvsmpshq8kmo8h~ixwvh8»½Ë8lpsjpsro8ijxxmrhpmx8
                                                8                       8                     889    8            8                      8                                                              8   ¼Ó888888888
                                                                                                                                                                         De
                         Ï ;:¨ ;Û·R!

             ;R                                                                                    ·ÜÜ;ÛR
             Ñ                    XE##$=+Y%.#C=+M*#I*#$()*%+




                                                                                                                                                                Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
                                          ZE$#$%(*#&+*>+Y`)&()%C+".#D+d*$%&+ª)J.J+XE##$=+Y%.#C=+4*A?)%C&+M*J¶+
           îR                     ./+ZE$#$%(*#&©++
                                            XE##$=+W*E(H+<D.#)'$L+N%'J+
                                            XE##$=+́.%(E'B=+Y%.#C=L+N%'J+$%?+$AA+&EF&)?)$#).&++
                                          W.%)*#+W.'E#.?+
             :S!                       c)#&(+A).%+*%+'*AA$(.#$A+*>+Y`)&()%C+".#D+d*$%&+




                                                                                                                                                                              Exhibit 6 - MEC Transaction Overview Page 18 of 20
                                            c)#&(+A).%+*%+<??)()*%$A+M*AA$(.#$A[L+]+
                                          ,'(*F.#+]^]]+
             !                        WI#)%C)%C+D$(E#)(=+§[+?$=&+)%&)?.+(H.+Y`)&()%C+]d+*(.&L+$IIA)'$FA.+*%A=+)>+(H.+*E(&($%?)%C+I#)%')I$A+$D*E%(+*>+(H.+
                                               Y`)&()%C+]d+*(.&+)&+C#.$(.#+(H$%+¦[°_+D)AA)*%+
          í;!$!                     [J^^±+
                                   Ñê¸S¨©+d°]_+FI&+
                                          ÑêæS¨©+d°°_+FI&+
          ÛÑPåT                    [J^^±+
     P;Ú;!;  *%.+
    ÜP;  °_±+YMc+&/..I+
     å!S!T R  c)#&(+d).%+.(+d.-.#$C.+V$()*+*>+J_^`+/)(H+&(.I@?*/%&++
¼8fgh8»vvsrsjnmx8×jxxmrhpmx8snixwvhq8m8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Õjwrg8»khpsimÁ8ÈniÁ8snixwvsnt8m8lxhvth8j|8ÓÎÊ8j|8Åwppmo8Õjwrg8»khpsimÁ8Èni8hÇwsro8snrhphqr8sn8Åwppmo8×jxjk{smn8¾hqjwpihqÁ8
ËË×Á8{8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8ÈniÁ8mnv8mxx8qw{qsvsmpshq8tpmnr8j|8xshn8j}hp8mqqhrq8j|8ihprmsn8qw{qsvsmpshq8kmo8h~ixwvh8»½Ë8lpsjpsro8ijxxmrhpmxÁ8mnv8i8m8lxhvth8j|8¼ÂÂÊ8j|8
Åw
98
   ppmo8xj{mx8×jkkjvsrshqÁ8Èni8ÀÊ8hÇwsro8snrhphqr8sn8m}hxsn8
  Åwppmo8Õjwrg8»khpsimÁ8Èni8mnv8mxx8qw{qsvsmpshq8mnv8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni8mnv8mxx8qw{qsvsmpshq8usxx8{h8vhqstnmrhv8mq88¾hqrpsirhv8!"8mnv8usxx8{h8qw{#hir8rj8qhlmpmrh8ij}hnmnrq8wnvhp8
rgh8iphvsr8vjiwkhnrq88
                                               8                      8                      889         8                           8                             8                                                              8   ¼Ã888888888
                                                                                                                                                                                                   De
                         ¸ ;:¨ 9R·S¨

             ;R                                                                             9ÏäÛ!·S¨9R
            Ñ   XE##$=+Y%.#C=+M*#I*#$()*%+
                        ZE$#$%(*#&+*>+Y`)&()%C+".#D+d*$%&+ª)J.J+XE##$=+Y%.#C=+4*A?)%C&+M*J¶+




                                                                                                                                                                Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58
  + îR  .         /+ZE$#$%(*#&©++
                          XE##$=+W*E(H+<D.#)'$L+N%'J+
     +                    XE##$=+́.%(E'B=+Y%.#C=L+N%'J+$%?+$AA+&EF&)?)$#).&++
         +S!  W.%)*"#H+W.
        :
                                    'E#.?+ª[J_+d).%¶+
                                 )#?+A).%+*%+'*AA$(.#$A+*>+Y`)&()%C+".#D+d*$%&+
         +




                                                                                                                                                                              Exhibit 6 - MEC Transaction Overview Page 19 of 20
                          W.'*%?+A).%+*%+<??)()*%$A+M*AA$(.#$A[L+]+
        !         <I#)A+]^]+
       í;!$!      *%.+
                        []J^^±+
                   R¨©+§J^^±+
                          ÚÐ©+J^^±+
                        éÏê¸©+%*(+'$AA$FA.+ª&EFG.'(+(*+"_^+D$B.@/H*A.+$%?+.OE)(=+'$AA@F$'B¶+
      TTÚ;!;     éæ©+_^±+'*EI*%+I#.D)ED+
                        éâ©+M$AA$FA.+$(+I$#+
  ÜP;  *%.+
   å!S!T R  *%.+
           ¨        e#*+>*#D$+>*#+(H.+"#$%&$'()*%L+(H.+M*DI$%=+/)AA+H$-.+F$&B.(&+(*+$AA*/+>*#+¦[[_+D)AA)*%+*>+$??)()*%$A+I$#)+I$&&E+[J_+A).%+?.F(+
 ¼8fgh8»vvsrsjnmx8×jxxmrhpmx8snixwvhq8m8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Õjwrg8»khpsimÁ8ÈniÁ8snixwvsnt8m8lxhvth8j|8ÓÎÊ8j|8Åwppmo8Õjwrg8»khpsimÁ8Èni8hÇwsro8snrhphqr8sn8Åwppmo8×jxjk{smn8¾hqjwpihqÁ8
ËË×Á8{8mxx8mqqhrq8mnv8¼ÂÂÊ8j|8hÇwsro8j|8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8ÈniÁ8mnv8mxx8qw{qsvsmpshq8tpmnr8j|8xshn8j}hp8mqqhrq8j|8ihprmsn8qw{qsvsmpshq8kmo8h~ixwvh8»½Ë8lpsjpsro8ijxxmrhpmxÁ8mnv8i8m8lxhvth8j|8¼ÂÂÊ8j|8
Åw
 98
    ppmo8xj{mx8×jkkjvsrshqÁ8Èni8ÀÊ8hÇwsro8snrhphqr8sn8m}hxsn8
   Åwppmo8Õjwrg8»khpsimÁ8Èni8mnv8mxx8qw{qsvsmpshq8mnv8Åwppmo8Ùhnrwiyo8ÉnhptoÁ8Èni8mnv8mxx8qw{qsvsmpshq8usxx8{h8vhqstnmrhv8mq88¾hqrpsirhv8!"8mnv8usxx8{h8qw{#hir8rj8qhlmpmrh8ij}hnmnrq8wnvhp8
rÀgh8iphvsr8vjiwkhnrq88
  8fgh8h~igmnth8pmrsj8mnv8ijwljn8j|8mno8|wrwph8h~igmnthq8kmo8vs||hp8rgmn8rhpkq8sn8rgh8¹jrhq8É~igmnth8fjrmx8ijwljn8jn8|wrwph8h~igmnthq88sn}jx}snt8rgh8h~sqrsnt89Ë8¹jrhq8sq8imllhv8mr8¼9Ê8snixwvsnt8ØÈÙ88
                                               8                      8                      889         8                           8                             8                                                              8   ¼Ä888888888
                                                                                                                                                                                                   De
Case 2:19-ap-02143 Doc 46-6 Filed 01/27/20 Entered 01/27/20 19:16:58      De
              Exhibit 6 - MEC Transaction Overview Page 20 of 20
                                                              89  
